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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

       EMILY GILBY; TEXAS
       DEMOCRATIC PARTY; DSCC;
       DCCC; TERRELL BLODGETT

                Plaintiffs,

       v.
                                                              CIVIL ACTION NO. 1:19-cv-01063
       RUTH HUGHS, in her official capacity as
       the Texas Secretary of State,

                Defendant.


                                             ORDER

       Having considered Plaintiffs’ Motion to Compel Production of Documents and Depose

Defendant Texas Secretary of State Ruth Hughs Pursuant to Federal Rule of Civil Procedure

30(b)(6), the Motion is GRANTED. The Secretary is ordered to immediately produce all

documents she has withheld on the basis of legislative privilege, deliberative process privilege, or

both privileges as highlighted in Exhibit 6 to Plaintiffs’ motion, and Plaintiffs are permitted to

continue the deposition of the Texas Secretary of State’s witness under Federal Rule of Civil

Procedure 30(b)(6) to question him regarding the subject matter of these withheld documents.

Given the need for relief prior to the November elections, this deposition should occur as soon as

practicable.


       SIGNED this the _______ day of June 2020.



                                                     _________________________________
                                                     Lee Yeakel
                                                     United States District Judge
